                        Case: 21-4072         Document: 6         Filed: 11/19/2021     Page: 1
                                         UNITED STATES COURT OF APPEALS
                                              FOR THE SIXTH CIRCUIT

                                            Appearance of Counsel
            21-4072
Appeal No.: ___________________________________

            The Dayton Power & Light Co., et al.    Federal Energy Regulatory Commission
Case Title: _____________________________________vs.______________________________________



List all clients you represent in this appeal:
Duke Energy Ohio, Inc.




         ‫ ܆‬Appellant             ✔ Petitioner
                                 ‫܆‬                        ‫ ܆‬Amicus Curiae               ‫܆‬Criminal Justice Act
         ‫ ܆‬Appellee              ‫ ܆‬Respondent             ‫ ܆‬Intervenor                        (Appointed)

‫ ܆‬Check if a party is represented by more than one attorney.
✔ Check if you are lead counsel.
‫܆‬

If you are substituting for another counsel, include that attorney’s name here:



By filing this form, I certify my admission and/or eligibility to file in this court.

               Heather M. Horne
Attorney Name: ________________________________               Heather M. Horne
                                                Signature: s/_______________________________

           Duke Energy Corporation
Firm Name: ______________________________________________________________________________

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Business Address: ________________________________________________________________________

                 Washington / DC / 20004
City/State/Zip: ____________________________________________________________________________

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Please ensure your contact information above matches your PACER contact information. If necessary, update
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  served with this document as of the date of filing.


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